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Form CGFCRD3H (07/20/22)

                               United States Bankruptcy Court
                                      Southern District of Florida
                                       www.flsb.uscourts.gov
                                                                                   Case Number: 23−14125−EPK
                                                                                   Chapter: 11

In re:
 Ben L Cook
 aka Ben Cook, aka Ben Lowell Cook
 3232 Lago De Talavera
 Lake Worth, FL 33467
 SSN: xxx−xx−4819


                                         NOTICE OF HEARING
PLEASE TAKE NOTICE that a hearing will be held before the Honorable Erik P. Kimball to consider the
following:

Motion to Dismiss Case , or in the alternative Motion to Convert Chapter 11 Case to Chapter 7 .
Filed by U.S. Trustee Office of the US Trustee (631)

1.   This matter has been set on the Court's motion calendar for a non−evidentiary hearing. The allotted
     time for this matter is ten minutes. The hearing will be held:

     Date:         January 31, 2024
     Time:         01:30 PM
     Location:     Flagler Waterview Building, 1515 N Flagler Dr Room 801 Courtroom B, West Palm
                   Beach, FL 33401

2.   Although the Court will conduct the hearing in person, any interested party may choose to attend the
     hearing remotely using the services of Zoom Video Communications, Inc. ("Zoom"), which permits
     remote participation by video or by telephone, if the judge's procedures allow. To participate in the
     hearing remotely via Zoom (whether by video or by telephone), you must register in advance no later
     than 3:00 p.m., one business day before the date of the hearing. To register, click on or manually enter
     the following registration link in a browser:

     https://www.zoomgov.com/meeting/register/vJIsduGsrTouGn7Udkhqe_ZF90qPJ3uM95E

     All participants (whether attending in person or remotely) must observe the formalities of the
     courtroom, exercise civility, and otherwise conduct themselves in a manner consistent with the dignity
     of the Court. This includes appropriate courtroom attire for those participants appearing in person or
     by video.

3.   The movant, or movant's counsel if represented by an attorney, must:

             (a) serve a copy of this notice of hearing and, unless previously served, the above−described
                 document(s) on all required parties within the time frame required by the Federal Rules of
                 Bankruptcy Procedure, the local rules of this Court, and orders of the Court, and

             (b) file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B).

     Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be
     heard thereon.

4.   PLEASE NOTE: No person may record the proceedings from any location by any means. The audio
     recording maintained by the Court will be the sole basis for creation of a transcript that constitutes the
     official record of the hearing.

5.   PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
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   Electronic devices, including but not limited to cameras, cellular phones (including those with
   cameras), iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios,
   tape−recorders, etc., are not permitted in the courtroom, chambers or other environs of this Court.
   These restrictions (except for cameras not integrated into a cell phone device) do not apply to
   attorneys with a valid Florida Bar identification card, attorneys who have been authorized to appear by
   pro hac vice order and witnesses subpoenaed to appear in a specific case. No one is permitted to
   bring a camera or other prohibited electronic device into a federal courthouse facility except with a
   written order signed by a judge and verified by the United States Marshals Service. See Local Rule
   5072−2.

Dated: 1/12/24                                      CLERK OF COURT
                                                    By: Dawn Leonard
                                                    Courtroom Deputy
